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                                  STATEMENT OF FACTS

        Your affiant,                 , is a Special Agent of the Federal Bureau of Investigation
(FBI), assigned to Pittsburgh Division, Mon Valley Resident Agency. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Special
Agent, I am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

              William Irvin Fuller’s Involvement in the Events of January 6, 2021

        In June 2021, the FBI Pittsburgh Division, Mon Valley Resident Agency, learned that a
phone connected to a Google account (fullwill**@***.com) belonging to William Irvin Fuller
(Fuller) was present inside the U.S. Capitol on January 6, 2021. Agent Michael Punzo of the FBI,
Pittsburgh Division, Mon Valley Resident Agency, interviewed Fuller by phone on July 14, 2021.
Fuller stated that he drove down to Washington, D.C., with a friend on January 6, 2021, and
attended the Stop the Steal Rally and walked to the U.S. Capitol, but that he did not go inside the
building.

       In late 2022, a person who has known and worked with Fuller identified him in surveillance
footage, which showed him entering the U.S. Capitol on January 6, 2021.

       Open-source video shows Fuller (circled in yellow) attending the Stop the Steal Rally on
the Mall on January 6, 2021. He is carrying a sign that says “Thank you! President Trump / We
Love You”. He is accompanied throughout January 6, 2021 by Samuel Christopher Fox, who was
charged with and pled guilty to 40 U.S.C. § 5104(e)(2)(G) in case no. 1:21-cr-00435-BAH for his
breach of the Capitol at the Senate Wing Door.




Image 1: screenshot from open-source video showing Fuller at the Stop the Steal Rally. Fox stands to his
left, in a red bandana.
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      At approximately 3:12 PM, Fox and Fuller entered the U.S. Capitol through a broken
window next to the Senate Wing Doors. As Fuller entered, he pulled up a mask.




Image 2: screenshot from U.S. Capitol Surveillance footage. Fuller (circled in yellow) enters the U.S.
Capitol. Fox stands next to him, in a red bandana.




Image 3: screenshot from U.S. Capitol Surveillance footage. Fuller (circled in yellow) stands inside the
U.S. Capitol; Fox, in a red bandana, stands to his right. Fox and Fuller remained inside for approximately
one minute, before leaving through the Senate Wing Door.
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 Image 4: screenshot from U.S. Capitol Surveillance footage. Fuller (circled in yellow) leaves the U.S.
                                               Capitol.




Image 5 and 6: screenshot from open-source video showing Fuller (circled in yellow) in the arcade of the
Senate Wing Doors. In Image 5, Fox stands behind Fuller, in a red bandana.

       After leaving, Fuller and Fox stood on the stairs to the Senate Parliamentarian Door, but
available surveillance does not show that Fuller entered the Capitol a second time.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Fuller violated 18 U.S.C. §§ 1752(a)(1) and (2), which make it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do so; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
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